        Case 5:17-cv-05042-JLV Document 142 Filed 03/22/19 Page 1 of 2 PageID #: 1773

 Gregory Buzzard

From:                   holli lundahl <hollilundahl@gmail.com>
Sent:                   Friday, March 22, 2019 8:52 AM
To:                     Gregory Buzzard
Subject:                Re: Telford v. Bradeen et al. 17-5042


Also, I note in your email that the attorneys will be presenting evidence. The attorneys have no personal knowledge of
my filing a notice of appeal and sending in a copy of my original scanned notice of appeal, when the clerks office
intentionaliy lost the original notice of appeal. Having no personal knowledge concerning the matter at bar, they are not
competent witnesses.

On Tue, Mar 19, 2019 at 3:41 PM Gregory Buzzard <Greg Buzzard(5)sdd.uscourts.gov> wrote:

; Good afternoon all.




 One of the clerks informed me Ms. Telford has communicated with her over email at the address
 hollilundahl@gmail.com. I've copied this address here to ensure Ms. Telford receives these emails.




  Ms. Telford, please let us know if you disagree with the consensus that the court shouid schedule an evidentiary
 hearing for at least two hours.




 Gregory T. Buzzard

 Term Law Clerk


 Chief Judge Jeffrey L. Viken

 United States District Court


 District of South Dakota


 515 9th Street, Room 318


 Rapid City, SD 57701




 Office: 605-399-6054


 Cell: 660-624-2521
       Case 5:17-cv-05042-JLV Document 142 Filed 03/22/19 Page 2 of 2 PageID #: 1774


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Sent:                  Friday, March 22, 2019 8:52 AM
To:                    Gregory Buzzard
Subject:               Re; Telford v. Bradeen et al. 17-5042


I WILL NOT BE APPEARING. MY CONTENTIONS ARE CLEAR. I DO NOT INTEND ON PARTICIPATING KANGAROO COURT
PROCEEDINGS WITH A JUDGE AND CLERICAL STAFF THAT COVERS UP CRIMES COMMITTED BY ATTORNEYS AND THEIR
CLIENTS ON A REGULAR BASIS. I WILL NOT BE APPEARING.


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